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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No. 1:14-cv-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,
on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


     DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE
        GEO GROUP, INC.’S REPLY IN SUPPORT OF ITS CROSS-MOTION FOR
                            SUMMARY JUDGMENT


         I, Adrienne Scheffey, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

         1.      I am an attorney for defendant The GEO Group, Inc. (“Defendant” or “GEO”) in

the above-captioned matter.

         2.      I submit this Declaration in support of GEO’s Reply in Support of its Cross-Motion

for Summary Judgment.




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         3.    Attached is an index of attached exhibits as required by this Court’s practice

standards. The exhibits are also outlined below.

         4.    Attached as Exhibit A is a chart setting forth Plaintiffs’ responses and replies to

GEO’s Separate Statement of Undisputed Facts and GEO’s responses to Plaintiffs’ Additional

Facts for the Court’s ease of review. The undersigned has created this chart in an effort to

streamline review of the disputed and undisputed facts and in compliance with Section III.E.2 of

this Court’s practice standards.

         5.    Attached as Exhibit B are true and correct copies of excerpts of Dawn Ceja’s

deposition transcript dated August 5, 2020.

         6.    Attached as Exhibit C are true and correct copies of some of ICE’s Contract

Assessment Reports which evaluate ICE’s contract performance. This exhibit has been filed as

Level 1 Restricted.

         7.    Attached as Exhibit D is a true and correct copy of an email that was sent to the

undersigned from a member of ICE’s legal team regarding the documents referred to as the

“HUSP” in the Shannon Ely Declaration that has been filed at 261-7.

         8.    Attached as Exhibit E is a true and correct copy of a letter dated March 7, 2018,

from Steve King to ICE regarding the Voluntary Work Program.

         9.    Attached as Exhibit F is a true and correct copy of a letter dated December 15,

2017, from Kamala Harris to the appropriations committee regarding the PBNDS.

         10.   Attached as Exhibit G are true and correct copies of excerpts of Amber Martin’s

30(b)(6) deposition transcript dated February 28, 2020.




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         11.    Attached as Exhibit H are true and correct copies of excerpts of Daniel Ragsdale’s

30(b)(6) deposition transcript dated February 27, 2020.

         12.    Attached as Exhibit I are true and correct copies of excerpts of Sergio Gallegos’

deposition transcript dated June 30, 2020.

         13.    Attached as Exhibit J are true and correct copies of excerpts of Joyce Quezada’s

deposition transcript dated July 28, 2020.

         14.    Attached as Exhibit K is a true and correct copy of a report from ICE to the

Congressional Appropriations Subcommittee on Homeland Security dated January 17, 2017.

         Executed this 21st day of August, 2020, in Denver, Colorado.

                                                  s/ Adrienne Scheffey
                                                  Adrienne Scheffey




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                                     CERTIFICATE OF SERVICE

             I hereby certify on this 21st day of August, 2020, a true and correct copy of the foregoing

    DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE GEO

    GROUP, INC.’S REPLY IN SUPPORT OF ITS CROSS-MOTION FOR SUMMARY

    JUDGMENT was filed and served electronically via the Court’s CM/ECF system on the

    following:

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                                                          s/ Nick Mangels
                                                          Nick Mangels



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on their own and on behalf of all others similarly situated,

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THE GEO GROUP, INC.,

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INDEX OF EXHIBITS TO DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT
 OF DEFENDANT THE GEO GROUP, INC.’S REPLY IN SUPPORT OF ITS CROSS-
                  MOTION FOR SUMMARY JUDGMENT



 Exhibit                                         Description
             Chart of Plaintiffs' Responses and Replies to GEO's Separate Statement of Undisputed
     A
             Facts and GEO's Responses to Plaintiffs' Additional Facts
     B       Excerpts of Dawn Ceja's Deposition Transcript dated August 5, 2020

     C       ICE Contract Assessment Reports – Filed with this Court as Level 1 Restricted

     D       "HUSP" E-mail from ICE

     E       Letter from Steve King to ICE re VWP dated March 7, 2018




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 Exhibit                                        Description
             Letter from Kamala Harris to the Appropriations Committee re PBNDS dated
    F
             December 15, 2017
    G        Excerpts of Amber Martin's Deposition Transcript dated February 28, 2020

    H        Excerpts of Daniel Ragsdale's 30(b)(6) Deposition Transcript dated February 27, 2020

    I        Excerpts of Sergio Gallegos’ Deposition Transcript dated June 30, 2020

    J        Excerpts of Joyce Quezada’s Deposition Transcript dated July 28, 2020
             Report from ICE to Congressional Appropriations Subcommittee on Homeland
    K
             Security dated January 17, 2017




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